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 8
                        IN THE UNITED STATES DISTRICT COURT
 9
                       FOR THE EASTERN DISTRICT OF CALIFORNIA
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11
     UNITED STATES OF AMERICA,     )      Case No. CR-S-07-0248 WBS
12                                 )
               Plaintiff,          )
13                                 )      GOVERNMENT’S MOTION TO DISMISS THE
          v.                       )      INDICTMENT AS TO DEFENDANTS PEDRO
14                                 )      ANTHONY RIOS III AND ERNESTO BRAVO
     MARIO DIAZ, et al.,           )      TEJEDA AND [PROPOSED] ORDER
15                                 )
     ______________________________)
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17
18        The United States of America, through its attorneys of record,
19   Assistant U.S. Attorneys Jason Hitt and Mary L. Grad, hereby moves
20   for an order dismissing the indictment against defendant Ernesto
21   Bravo TEJEDA and Pedro Anthony RIOS III pursuant to Federal Rule of
22   Criminal Procedure 48(a).
23        Background
24        On July 11, 2007, a Sacramento federal Grand Jury returned a
25   superseding indictment against defendant Ernesto Bravo TEJEDA and
26   defendant Pedro Anthony RIOS III along with others in a large-scale
27   conspiracy to distribute and possess with intent to distribute
28   marijuana, heroin, at least 5 kilograms of cocaine, and at least 50

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 1   grams of methamphetamine (actual) in violation of 21 U.S.C.
 2   §§ 841(a)(1) and 846, Case No. CR-S-07-0248 WBS.
 3        Defendant Ernesto Bravo TEJEDA
 4        Based upon the government’s ongoing investigation, the
 5   undersigned hereby moves to dismiss the sole count (Count One)
 6   against Ernesto Bravo TEJEDA in Case No. CR-S-07-0248 WBS in the
 7   interests of justice pursuant to Rule 48(a).
 8        Defendant Pedro Anthony RIOS
 9        On August 3, 2007, defendant Pedro Anthony RIOS III died.
10   Attached to this motion as Exhibit A is a certificate confirming his
11   death.   Accordingly, pursuant to Rule 48(a), the government moves to
12   dismiss Counts One and Three against Pedro Anthony RIOS III in Case
13   No. CR-S-07-0248 WBS.
14
15                                        Respectfully Submitted,
16                                        McGREGOR W. SCOTT
                                          United States Attorney
17
18   DATED:   January 23, 2008        By:/s/Jason Hitt
                                         JASON HITT
19                                       Assistant U.S. Attorney
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 1                                       ORDER
 2        For the reasons set forth in the motion to dismiss filed by the
 3   United States, IT IS HEREBY ORDERED that:
 4        1.   Count One of the Superseding Indictment in Case No.
 5   CR-S-07-0248 WBS as to defendant Ernesto Bravo TEJEDA is hereby
 6   DISMISSED pursuant to Federal Rule of Criminal Procedure 48(a); and
 7        2.   Counts One and Three of the Superseding Indictment in Case
 8   No. CR-S-07-0248 WBS as to defendant Pedro Anthony RIOS III are
 9   hereby DISMISSED pursuant to Federal Rule of Criminal Procedure
10   48(a).
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12   DATED: January 23, 2008
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